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16                                 UNITED STATES DISTRICT COURT

17                              NORTHERN DISTRICT OF CALIFORNIA

18                                       SAN FRANCISCO DIVISION

19   STATE OF CALIFORNIA and GAVIN                    Case No. 3:25-cv-03372-JSC
     NEWSOM, in his official capacity as
20   Governor of California,                          ADDENDUM TO UNOPPOSED MOTION
                                                      OF CONSUMER WATCHDOG FOR LEAVE
                                    Plaintiffs,       TO FILE AMICUS CURIAE BRIEF;
21                    v.                              [PROPOSED] BRIEF FOR AMICUS
22                                                    CURIAE CONSUMER WATCHDOG
     DONALD J. TRUMP, et al.,
23                                                    Hon. Jacqueline Scott Corley
                                     Defendants.
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                      ADDENDUM TO BRIEF FOR AMICUS CURIAE CONSUMER WATCHDOG
                         Presidential Actions Taken Pursuant to the International Emergency Economic Powers Act from January 20, 2025 to May 16, 2025
                               Date               Exec. Order No.                 Amount of Tariff               Rationale                           Exclusions
                          2/1/2025     14193 (Canada)                          25% on Canadian          Reduce the flow of imported   Products described in 50 U.S.C.
                                                                               Goods                    drugs from cartels through    § 1702(b).
                                                                               10% on Canadian          the Northern border.
                                                                               Energy/Energy
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                                                                               Resources
                          2/1/2025     14194 (Mexico)                          25% on Mexican Goods     Reduce the flow of imported   Products described in 50 U.S.C.
                                                                                                        drugs from cartels through    § 1702(b).
                                                                                                        the Southern border.
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                          2/1/2025     14195 (China)                           10% on all Chinese       National emergency posed      Products described in 50 U.S.C.
                                                                               Goods                    by “failure of the PRC to”    § 1702(b).
                                                                                                        stop the flow of illicit
                                                                                                        precursors of illegal drugs
                          2/5/2025     14200 (Amends 14195 and allows for de   Allows for de minimis    No independent rationale
                                       minimis treatment)                      treatment                given for change
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                          3/2/2025     14226 (Canada) (Amends 14193 and        Amends EO 14193 to       None given
                                       allows for de minimis treatment)        allow for de minimis
                                                                               treatment
                          3/2/2025     14227 (Mexico) (Amends 14143 and        Amends EO 14194 to       None given
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                                       allows for de minimis treatment)        allow for de minimis
                                                                               treatment
                          3/3/2025     14228 (Amends 14195 to 20% from         20% on all Chinese       National emergency posed      Products described in 50 U.S.C.
                                       10%)                                    Goods                    by “failure of the PRC to”    § 1702(b).
                                                                                                        stop the flow of illicit
                                                                                                        precursors of illegal drugs
                          3/6/2025     14231 (Canada)                          Reduction to 0% tariff   Automotive industry is
                                                                               from 25% for all         critical to American
                                                                               products of Canada       economic and national
                                                                               which meet the           security.
                                                                               USMCA’s rules of
                                                                               origin                   No potash rationale
                                                                                                        included
                         Presidential Actions Taken Pursuant to the International Emergency Economic Powers Act from January 20, 2025 to May 16, 2025
                                                                         Reduction to 10% tariff
                                                                         from 25% for non-
                                                                         USMCA compliant
                                                                         potash
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                          3/6/2025     14232 (Mexico)                    Reduction to 0% tariff       Automotive industry is
                                                                         from 25% for all             critical to American
                                                                         products of Mexico           economic and national
                                                                         which meet the               security.
                                                                         USMCA’s rules of
                                                                         origin                       No rationale included for
                                                                                                      lower tariffs on potash
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                                                                         Reduction to 10% tariff
                                                                         from 25% for non-
                                                                         USMCA compliant
                                                                         potash
                          3/24/2025    14245                             25% on all goods from        National Security threat
                                                                         countries importing          posed by Venezuelan regime
                                                                         Venezuelan Oil that          and international criminal
                                                                         Sec’y State (in              organizations
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                                                                         consultation with Sec
                                                                         Commerce, Sec
                                                                         Homeland Security, and
                                                                         US Trade
                                                                         Representative)
                                                                         determines should have
                                                                         the tariff applied to.
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                                                                         The only criteria is a
                                                                         finding from Sec’y
                                                                         Commerce that a
                                                                         country imports the oil,
                                                                         then Sec’y State can
                                                                         apply this tariff to that
                                                                         country. There is no
                                                                         finding required on the
                                                                         part of Sec’y State. It is
                                                                         “at his discretion”
                                                                         whether to apply the
                                                                         tariff.
                          4/2/205      14256                             Eliminated de minimis        Close de minimis exemption
                                                                         exemption from EO            and to impose tariffs on
                                                                         14200. Applies tariff to     postal shipments because
                                                                         Chinese goods sent           “many shippers based in the
                                                                         through postal network.      People’s Republic of China
                         Presidential Actions Taken Pursuant to the International Emergency Economic Powers Act from January 20, 2025 to May 16, 2025
                                                                                                   (PRC) . . . often avoid
                                                                                                   detection due to
                                                                                                   administration of the de
                                                                                                   minimis exemption”.
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                          4/2/2025     14257                             10% tariff on all         Threat posed by other            Exceptions:
                                                                         imports except Canada     countries’ disparate tariff          - All goods listed in Annex II
                                                                         and Mexico with higher    rates and non-tariff barriers,           (including copper,
                                                                         rates for certain         domestic economic policies,              pharmaceuticals,
                                                                         countries listed in       and the “large and persistent            semiconductors, lumber articles,
                                                                         Annex I.                  annual U.S. goods trade                  critical minerals, and energy and
                                                                                                   deficits” that result.                   energy products)
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                                                                                                                                        - 50 USC 1702(b)
                                                                         China is 34% in Annex                                          - Steel/aluminum and derivative
                                                                         I. Other countries in                                              articles subject to Section 232
                                                                         Annex I include South                                              duties
                                                                         Korea (25%),                                                   - Automobiles and automotive
                                                                         Zimbabwe (18%),                                                    parts subject to Section 232
                                                                         Botswana (37%),                                                    duties
                                                                         Thailand (36%), and the                                        - All products which may become
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                                                                         European Union (20%)                                               subject to Section 232 duties
                                                                                                                                        - Goods from Canada/Mexico
                          4/8/2025     14259                             Increases tariff on       Response to retaliatory tariff   Exceptions
                                                                         Chinese imports to 84%    imposed by China in                  - Same as EO 14257
                                                                         from 34%                  response to EO 14257.
                          4/9/2025     14266                             Increases tariff on       Chinese tariff increased in      Exceptions
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                                                                         Chinese imports to        response to Chinese                  - Same as EO 14257
                                                                         125% from 84%             retaliation
                                                                         Lowers country-specific   Suspension of higher
                                                                         tariff rates in Annex I   country specific tariffs for
                                                                         EO 14257 to 10% for a     90 days implemented to
                                                                         period of 90 days         encourage countries to
                                                                         (except for China)        engage in direct negotiation
                                                                                                   with the administration.
                          4/29/2025    14289                             Attempts to clarify how   Rationale is that stacking
                                                                         multiple tariffs on the   tariffs results in a
                                                                         same good apply           cumulative tariff that
                                                                                                   exceeds what is “necessary
                                                                                                   to achieve the intended
                                                                                                   policy goals”
